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                                                                            Page 1
·1· · · · · · · · · · ·STEVEN YOUNG
·2· · · · · · · ·UNITED STATES DISTRICT COURT
·3· · · · · ·FOR THE WESTERN DISTRICT OF VIRGINIA
·4· · · · · · · · ·CHARLOTTESVILLE DIVISION
·5· ·--------------------------------- )
·6· ·ELIZABETH SINES, et al.,· · · · · )
·7· · · · · · · · · ·Plaintiffs,· · · ·)Case No.
·8· · · · · ·vs.· · · · · · · · · · · ·)3:17-cv-00072-NKM
·9· ·JASON KESSLER, et al.,· · · · · · )
10· · · · · · · · · ·Defendants.· · · ·)
11· ·--------------------------------- )
12
13
14· · · · · · · · DEPOSITION OF STEVEN YOUNG
15· · ·APPEARING REMOTELY FROM CHARLOTTESVILLE, VIRGINIA
16· · · · · · · · · · · ·JULY 15, 2020
17
18
19
20
21
22
23
24· ·JOB NO. 180929
25· ·REPORTED BY:· Tina Alfaro, RPR, CRR, RMR


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·1· · · · · · · · · · ·STEVEN YOUNG                                ·1· · · · · · · · · · ·STEVEN YOUNG
·2                                                                 ·2· ·APPEARANCES:
·3                                                                 ·3· · · · ON BEHALF OF THE PLAINTIFFS:
·4                                                                 ·4· · · · COOLEY
·5· · · · · · · · · · · · · · · July 15, 2020                      ·5· · · · BY: SCOTT STEMETZKI, ESQ.
·6· · · · · · · · · · · · · · · 9:30 a.m.                          ·6· · · · · · CAITLIN MUNLEY, ESQ.
·7                                                                 ·7· · · · · · NICK FRANCO, ESQ.
·8                                                                 ·8· · · · · · 1299 Pennsylvania Avenue, NW
·9· · · · · · Deposition of STEVEN YOUNG taken remotely            ·9· · · · · · Washington, D.C. 20004
10· ·before Tina M. Alfaro, a Notary Public within and             10
11· ·for the State of Virginia.                                    11· ·and
12                                                                 12· · · · KAPLAN HECKER & FINK
13                                                                 13· · · · BY: MICHAEL BLOCH, ESQ.
14                                                                 14· · · · · · 350 Fifth Avenue
15                                                                 15· · · · · · New York, New York 10118
16                                                                 16
17                                                                 17
18                                                                 18· · · · ON BEHALF OF PATRICK CASEY:
19                                                                 19· · · · KOLENICH LAW OFFICE
20                                                                 20· · · · BY: JAMES KOLENICH, ESQ.
21                                                                 21· · · · · · 9435 Waterstone Boulevard
22                                                                 22· · · · · · Cincinnati, Ohio 45249
23                                                                 23
24                                                                 24
25                                                                 25


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·1· · · · · · · · · · ·STEVEN YOUNG                                ·1· · · · · · · · · · ·STEVEN YOUNG
·2· ·APPEARANCES:· (cont'd)                                        ·2· · · · · · · · · · · · ·I N D E X
·3· · · · ON BEHALF OF JAMES ALEX FIELDS, JR.                      ·3· · · · · · · · · · · · EXAMINATION
·4· · · · DUANE HAUCK DAVIS GRAVATT & CAMPBELL                     ·4· ·WITNESS· · · · · · · · · · · · · · · · · · ·PAGE
·5· · · · BY: DAVID CAMPBELL, ESQ.                                 ·5· ·STEVEN YOUNG
·6· · · · · · 100 West Franklin Street                             ·6· · · By Mr. Campbell· · · · · · · · · · · · · 6
·7· · · · · · Richmond, Virginia 23220                             ·7· · · By Mr. Kolenich· · · · · · · · · · · · · 36
·8                                                                 ·8· · · · · · · · · · · · ·EXHIBITS
·9                                                                 ·9· · · · · · · · · · · ·(none marked)
10                                                                 10
11                                                                 11
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·1·   · · · · · · · · · ·STEVEN YOUNG                         ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   · · · · · · · · · · (Witness sworn.)                    ·2·   · · · · · If you don't understand a question,
·3·   ·WHEREUPON:                                             ·3·   ·especially if you're having any difficulty hearing
·4·   · · · · · · · · · · ·STEVE YOUNG,                       ·4·   ·me at any point or anything like that, please let me
·5·   ·called as a witness herein, having been first duly     ·5·   ·know.· I want to make sure you understand the
·6·   ·sworn, was examined and testified as follows:          ·6·   ·questions as much as possible before answering and
·7·   · · · · · · · · · · · EXAMINATION                       ·7·   ·make sure there's no ambiguity.
·8·   ·BY MR. CAMPBELL:                                       ·8·   · · · · · If you need a break at any time, just let
·9·   · · · Q.· Good morning, Detective Young.· My name is    ·9·   ·us know.· We'll be happy to take a break.· I would
10·   ·Dave Campbell, and I represent one of the              10·   ·just ask that you answer whatever the pending
11·   ·Defendants, James Alex Fields, in this federal         11·   ·question is at the time.
12·   ·lawsuit and the one who requested your deposition      12·   · · · · · Also, if you say uh-huh or uh-uh I may say
13·   ·today, or one of the ones.                             13·   ·was that a yes or was that a no.· I'm not trying to
14·   · · · · · Have you given depositions before,            14·   ·be rude.· I just want to make sure --
15·   ·Detective?                                             15·   · · · A.· I'm fine.
16·   · · · A.· I'll just go ahead and say no.                16·   · · · Q.· -- we're clear --
17·   · · · Q.· Okay.· Just general suggestions to help       17·   · · · A.· Uh-huh.
18·   ·essentially make it easier for the court reporter to   18·   · · · Q.· Is that okay?
19·   ·take down our conversation today.· Even though I'm     19·   · · · · · THE REPORTER:· Let me just say one thing
20·   ·sure you'll know where I'm going with many of my       20·   ·right off the bat.· If you talk over each other,
21·   ·questions, please try to let me finish the question    21·   ·Detective Young, I will hear none of it.· So try to
22·   ·before you begin to answer, and then I'll do the       22·   ·refrain.· Thank you.
23·   ·same and do my best to avoid beginning another         23·   · · · · · THE WITNESS:· All right.
24·   ·question before you're completely done responding to   24·   · · · · · MR. CAMPBELL:· Just housekeeping at the
25·   ·the prior one.                                         25·   ·beginning.· Will all counsel so stipulate that this
                                                     Page 8                                                        Page 9
·1·   · · · · · · · · · ·STEVEN YOUNG                         ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·deposition is taken in accordance with all the other   ·2·   ·unit as well as the SVU unit, and recently I got
·3·   ·discovery depositions taken remotely in this case      ·3·   ·switched over to patrol to become a road supervisor.
·4·   ·and is valid as a Rule 30 deposition despite the       ·4·   · · · Q.· Okay.· Can you just generally give me a
·5·   ·absence of the court reporter in the room with the     ·5·   ·little background about your training and
·6·   ·deponent?                                              ·6·   ·experience, when you first began law enforcement up
·7·   · · · · · MR. STEMETZKI:· Yes, Plaintiffs will          ·7·   ·to August 12th?
·8·   ·stipulate.                                             ·8·   · · · A.· I joined the Charlottesville Police
·9·   · · · · · MR. CAMPBELL:· Great.· Thank you.             ·9·   ·Department, that's the only department I've worked
10·   ·BY MR. CAMPBELL:                                       10·   ·for, in January of 2011.· I spent three years on
11·   · · · Q.· Hey, Detective, to start, what is your        11·   ·night patrol and then a year on daylight patrol, and
12·   ·current job title?                                     12·   ·then I guess up until August 12th I was a detective
13·   · · · A.· Currently I am a corporal of patrol.· So      13·   ·for about two and a half years.· During that time I
14·   ·yeah, I'm one of the supervisors on daylight patrol.   14·   ·worked mostly in property units in our burglary
15·   · · · Q.· Okay.· And was that the same -- did you       15·   ·unit, and then I'll say about March of 2017 I got
16·   ·hold the same title back on August 12th of 2017?       16·   ·switched over to homicide and major case unit.· I've
17·   · · · A.· No.· I was a detective in our major case      17·   ·been to several trainings regarding investigations,
18·   ·unit.                                                  18·   ·a lot of 4th Amendment training, drug interdiction
19·   · · · Q.· And is -- is corporal a higher rank than      19·   ·training, all sorts of different kind of training.
20·   ·detective, I would assume?                             20·   · · · Q.· Okay.· Do you have any military experience
21·   · · · A.· Well, I mean, you could be a lieutenant and   21·   ·prior to joining Charlottesville Police Department?
22·   ·a detective, but yeah, then I was -- it was prior to   22·   · · · A.· Four years in the Marines and then four in
23·   ·a promotion.· Actually after August 12th, probably     23·   ·the Army.
24·   ·about a year after that I got promoted to a corporal   24·   · · · Q.· All right.· So is the proper way to refer
25·   ·in investigations where I oversaw our major case       25·   ·to you now Corporal Young, Detective Young, or

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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·something else?                                         ·2·   ·it's called open source review, and I'll just read a
·3·   · · · A.· Corporal Young's fine.· You can call me        ·3·   ·little paragraph to you and then ask if you had any
·4·   ·Steve if you want.                                      ·4·   ·experience similar to what is described in the
·5·   · · · Q.· All right.· Corporal Young, have you seen      ·5·   ·report.
·6·   ·the Heaphy report?· Do you know what I mean when I      ·6·   · · · · · It says "Each detective in the
·7·   ·say the Heaphy report?                                  ·7·   ·investigations unit was assigned people and groups
·8·   · · · A.· I've not read through it.· I know of it.       ·8·   ·to research.· Those people and groups included
·9·   ·Everything I've heard about it is all hearsay.· I've    ·9·   ·anyone that CPD believed might attend either event
10·   ·never actually thoroughly read through the report.      10·   ·whether in support or in opposition to the event
11·   · · · Q.· Understood.· Yeah, it's pretty long and a      11·   ·speakers."
12·   ·bit dry probably if --                                  12·   · · · · · Were you asked in your role as detective or
13·   · · · A.· Right.                                         13·   ·did you investigate any people or group of people
14·   · · · Q.· -- you're not an attorney in the case.         14·   ·prior to August the 12th?
15·   · · · · · So I want to ask you about prior to August     15·   · · · A.· Yes.
16·   ·the 12th, and obviously you're only here as an          16·   · · · Q.· And what people or group of people were you
17·   ·individual witness.· You're not here representing       17·   ·asked to investigate?
18·   ·the Charlottesville Police Department or anything       18·   · · · A.· Well, in that aspect I kind of, for lack of
19·   ·like that.· So I'm only asking about your personal      19·   ·a better term, got lucky.· I didn't have to -- I
20·   ·experience what you did prior to August 12th and        20·   ·think I had another case going on.· So they kind of
21·   ·that kind of thing.· Okay?                              21·   ·gave me a break and I didn't have to really delve
22·   · · · A.· Okay.                                          22·   ·into the major groups.· One of them was like a Care
23·   · · · Q.· I'm not asking to you speak for the unit or    23·   ·Bear group, which was completely irrelevant.· It's a
24·   ·any of the other, you know, detectives or guys, but     24·   ·group that was going to drop off tons of stuffed
25·   ·there's a note in the Heaphy report that says --        25·   ·Care Bears throughout the park.· So I did a little
                                                     Page 12                                                        Page 13
·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·background on them, as well as one of the local         ·2·   ·but he never responded back.
·3·   ·church groups that I guess you could classify as the    ·3·   · · · Q.· Okay.
·4·   ·counterprotestor groups that planned on coming and,     ·4·   · · · A.· And then again -- go ahead.
·5·   ·you know, peacefully protest the protestors.            ·5·   · · · Q.· I'm sorry.· You go ahead.
·6·   · · · Q.· Okay.                                          ·6·   · · · A.· In the end of that investigation nothing
·7·   · · · A.· To be honest, I can't remember who I           ·7·   ·really much came of it other than the fact that
·8·   ·reached out to.                                         ·8·   ·there was a small contingency that was going to show
·9·   · · · Q.· Do you remember anything more specific         ·9·   ·up and essentially voice their opinion without
10·   ·about the local church group, counterprotestor group    10·   ·resorting to any sort of physical violence.
11·   ·you were just describing, you know, the name or any     11·   · · · Q.· Did the group have a name or the way they
12·   ·particular --                                           12·   ·referred even if it only was internal in the way
13·   · · · A.· So they were headquartered here in             13·   ·they referenced themselves?
14·   ·Charlottesville on South 1st Street.· It's the          14·   · · · A.· I think it was something to the effect of
15·   ·Mt. Zion First African Baptist Church.                  15·   ·Charlottesville Unity.· I think that's what it was.
16·   · · · · · Now, the group I don't think was affiliated    16·   · · · Q.· Does the name Seth Wispelwey ring a bell in
17·   ·with the church, but that's where they kind of held     17·   ·regard to that group or any other investigation
18·   ·their meetings and from what I was told and from        18·   ·you've done related --
19·   ·what I found out they essentially gave classes on       19·   · · · A.· Say it again.· What was that name?
20·   ·how to be a peaceful protestor to citizens that         20·   · · · Q.· Seth Wispelwey.
21·   ·wanted to partake without, you know, physically         21·   · · · A.· No, sir.· I think I would remember that
22·   ·being aggressive.                                       22·   ·name, but no, that doesn't ring a bell.
23·   · · · · · I did reach out to the vice mayor at the       23·   · · · Q.· Okay.· All right.· So the Charlottesville
24·   ·time, Wes Bellamy, to try to get more information       24·   ·Unity was essentially -- and the Care Bear group or
25·   ·because I know he was affiliated with that group,       25·   ·the counterprotestor groups you looked into prior to

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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·August 12th; is that correct?                           ·2·   · · · Q.· Do you know how to spell that?
·3·   · · · A.· Correct.                                       ·3·   · · · A.· D-E-C-L-A-N.· He's Irish.
·4·   · · · Q.· All right.· And did you have any indication    ·4·   · · · Q.· Do you know if Detective Hickey is still
·5·   ·that anyone in Charlottesville Unity identified or      ·5·   ·with the Charlottesville Police Department?
·6·   ·associated as ANTIFA?                                   ·6·   · · · A.· He is.
·7·   · · · A.· No.                                            ·7·   · · · Q.· All right.· So anything else you were asked
·8·   · · · Q.· Do you know from your own, you know,           ·8·   ·to do in advance of August 12th other than
·9·   ·personal conversations with other detectives or         ·9·   ·investigate the two groups we've talked about?
10·   ·being present in a briefing room if there were any      10·   · · · A.· Not as far as the event.· I'm also on the
11·   ·other detectives that were assigned to look into or     11·   ·SWAT team.· So a lot of my role was kind of dealing
12·   ·had reports of ANTIFA counterprotesting on              12·   ·with the tactical side.
13·   ·August 12th?                                            13·   · · · Q.· Okay.· How about in your role as a SWAT
14·   · · · A.· Yes.· Yeah.                                    14·   ·team officer, what preparations or what sort of
15·   · · · Q.· Okay.· Do you know which detective or          15·   ·instructions were you given in advance of
16·   ·detectives was or were assigned to look into ANTIFA     16·   ·August 12th?
17·   ·counterprotesting?                                      17·   · · · A.· So most of my role with SWAT was more
18·   · · · A.· I believe it was Detective Hickey.             18·   ·logistically at the time.· So I had back surgery in
19·   · · · Q.· Is that H-I-C-K-E-Y?                           19·   ·March of 2017, and when I came back to full duty I
20·   · · · A.· Yes, sir.· And, unfortunately, I can't -- I    20·   ·was allowed to be -- I was considered full duty
21·   ·can't remember 100 percent.                             21·   ·except for SWAT.· So until September of 2017 I was
22·   · · · Q.· Is Detective Hickey a man or a woman?          22·   ·not allowed to partake in any sort of SWAT activity.
23·   · · · A.· A man.                                         23·   ·However, I could help out with logistics and
24·   · · · Q.· Do you know his first name?                    24·   ·training and stuff like that.
25·   · · · A.· Declan.                                        25·   · · · · · So ironically, you know, during the KKK
                                                     Page 16                                                        Page 17
·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·rally in July of 2017 as well as August 12th I was      ·2·   ·logistically or physically going in person to the --
·3·   ·actually more on the front lines, so to speak,          ·3·   ·what I'll refer to as the torch March on August 11,
·4·   ·whereas the SWAT team was in the rear.· But to          ·4·   ·2017?
·5·   ·answer your question, I didn't really partake in the    ·5·   · · · A.· No.· I was at home actually watching it on
·6·   ·planning as far as the tactics.· It's more              ·6·   ·TV.
·7·   ·logistics, making sure there's enough -- you know,      ·7·   · · · Q.· And then August 12th what time did you
·8·   ·the equipment was set up, we did our rounds, we had     ·8·   ·report for duty or go to work?
·9·   ·water, and all that kind of stuff                       ·9·   · · · A.· About 5:00 a.m.
10·   · · · Q.· In your role in logistics did you all          10·   · · · Q.· And where were you assigned, where were you
11·   ·discuss kind of where different teams would set up      11·   ·located?
12·   ·and how many officers to allocate to different parts    12·   · · · A.· Investigations Bureau, which is upstairs in
13·   ·of the city?                                            13·   ·the Charlottesville Police Department.
14·   · · · A.· So essentially the SWAT team's role was to     14·   · · · Q.· Did you personally witness any clashes
15·   ·pretty much stay out of the way.· I think they were     15·   ·between protestors and counterprotestors the morning
16·   ·headquartered here at the police department in the      16·   ·of August 12th?
17·   ·garage and essentially just put on standby.· That       17·   · · · A.· No physical clashes.· One of my duties that
18·   ·was the plan, and I'm pretty sure that's what they      18·   ·morning was to kind of be a roving intel officer.
19·   ·did throughout the day.                                 19·   ·So a few of us got into a van and we drove around,
20·   · · · Q.· I understand.· Regarding your earlier          20·   ·it was an unmarked van, just kind of getting intel
21·   ·testimony, had you been on SWAT you would have been     21·   ·to see what was going on.· So just kind of
22·   ·in HQ out of the way, but because you weren't you       22·   ·getting -- we saw people arguing definitely, but no
23·   ·were on the front line; is that correct?                23·   ·physical clashes.· That wasn't until later.
24·   · · · A.· Yes.                                           24·   · · · Q.· Were you -- where were you when the
25·   · · · Q.· Did you have any involvement either            25·   ·unlawful assembly was declared?

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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   · · · A.· I was in and around the downtown area.· At     ·2·   ·to whether the rally would be held at Emancipation
·3·   ·that point once it was declared unlawful assembly we    ·3·   ·Park or at McIntyre Park?
·4·   ·kind of gave up the intel thing.· Throughout the        ·4·   · · · A.· From what I was told and from what I
·5·   ·crowd there was a lot of undercover officers and we     ·5·   ·learned, it was all going to take place in
·6·   ·started to lose communication with them, and, for       ·6·   ·Emancipation Park.· We knew that McIntyre Park was
·7·   ·lack of a better term, all hell broke loose and we      ·7·   ·probably going to be the parking, staging area for
·8·   ·started to get all the undercover officers out.· So     ·8·   ·the protestors.· So that's all I knew.
·9·   ·we would call them, drive the van in real quick,        ·9·   · · · Q.· Was that because of any briefing or
10·   ·they'd identify themselves, and we'd just throw them    10·   ·communications you directly were aware of between
11·   ·in the van and take them out.· So that's what we did    11·   ·Charlottesville PD and any of the protestors?· And
12·   ·for a couple hours during the unlawful assembly.        12·   ·by that I'm asking your knowledge or your belief
13·   · · · Q.· Prior to the -- prior to August 12th were      13·   ·that McIntyre Park would be the staging area for the
14·   ·you involved or did you hear any discussions            14·   ·protestors.
15·   ·regarding the plan for street closures?                 15·   · · · A.· I can't attest to you how I learned that
16·   · · · A.· I wasn't involved in it in any way.· That      16·   ·information or how Charlottesville Police learned
17·   ·was a little above my pay grade.· I did hear about      17·   ·that information.· We had several briefings prior to
18·   ·it, but essentially the way I work is I kind of do      18·   ·that day and I just -- I don't know how I ended up
19·   ·my thing and I really don't delve into something I'm    19·   ·knowing that.· That's what they briefed us on.
20·   ·not assigned to.· I mean, I heard somewhat of the       20·   · · · Q.· Were you ever told like on August 11th that
21·   ·pattern of street closures, but I can't testify to      21·   ·the rally was not going to be held at Emancipation
22·   ·much of it other than I knew that some streets were     22·   ·Park and was going to be instead moved to McIntyre
23·   ·going to be closed.                                     23·   ·Park by order of the city council?
24·   · · · Q.· And were you briefed in the days directly      24·   · · · A.· That sounds familiar.· Again, this is a
25·   ·leading up to August 12th on any sort of question as    25·   ·long time ago.· So I'm trying to remember, but I
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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·knew that there was supposed to be a permit in the      ·2·   · · · A.· Sergeant Tony Newberry.
·3·   ·park, which got denied apparently, and they were        ·3·   · · · Q.· Thank you.· Sorry to interrupt.
·4·   ·going to hold it there anyways.· So we were just        ·4·   · · · A.· That's all right.
·5·   ·assuming it was going to be held at Emancipation        ·5·   · · · Q.· Go ahead.
·6·   ·Park, but we also had a contingency of officers that    ·6·   · · · A.· So by, say, you know, 12:30, 1:00
·7·   ·would be patrolling McIntyre Park as well.              ·7·   ·Emancipation Park had dispersed.· We received a call
·8·   · · · Q.· Did they -- were you briefed at all on any     ·8·   ·from a man named Jack -- I'm not sure who that is or
·9·   ·discussions over like last minute legal challenges?     ·9·   ·what his real name is, but we just knew him as
10·   ·Were you told anything about any of that as far as      10·   ·Jack -- who was the head of Kessler's security and
11·   ·where the event was going to be held?                   11·   ·he was requesting that we escort him back into the
12·   · · · A.· No.                                            12·   ·park to retrieve all of their audio equipment, like
13·   · · · Q.· Okay.· All right.                              13·   ·their microphones and all that kind of stuff.
14·   · · · · · So I wanted to ask you questions about the     14·   · · · · · So we went to Emancipation Park, it was
15·   ·arrest of James Fields.· How were you first notified    15·   ·empty for the most part, and we looked around for --
16·   ·of the car incident?                                    16·   ·we told him you stay put, we'll get your equipment
17·   · · · A.· So I'll lead you up to that happening.         17·   ·and we'll bring it back, that way you're not going
18·   ·Please cut me off if I'm going on or if I'm jumping     18·   ·to rile everyone up again.· We got to the park and
19·   ·ahead into your questions.                              19·   ·there was no audio equipment to be found.· So we
20·   · · · Q.· No.· Please.                                   20·   ·were just kind of looking around in the park and I
21·   · · · A.· The sergeant I was riding with in the van,     21·   ·heard on the radio that something happened on the
22·   ·Sergeant Newberry, one of his roles that day was to     22·   ·downtown mall.
23·   ·be in contact with Jaysun Kessler's security group,     23·   · · · · · One of the captains that was in the park
24·   ·and just prior to --                                    24·   ·suggested that we go ahead and go over there to
25·   · · · Q.· I'm sorry.· What was his name again?           25·   ·Market Street because there was a hit and run and

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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·someone was injured, and then we heard on the radio     ·2·   ·45 seconds and by that time he was already detained.
·3·   ·that there was a vehicle pursuit with the suspect       ·3·   · · · Q.· Okay.· Do you have any idea --
·4·   ·vehicle.· You know, hearing this on the radio we got    ·4·   · · · A.· Maybe not 45 seconds, maybe like a minute.
·5·   ·behind one of the officers that was in pursuit and      ·5·   ·I'm sorry.
·6·   ·by the time we got to the intersection of Monticello    ·6·   · · · Q.· Okay.· So it wasn't like a long vehicle
·7·   ·Road and Blenheim Avenue we parked and we realized      ·7·   ·pursuit --
·8·   ·that the suspect was already taken out of the           ·8·   · · · A.· No.
·9·   ·vehicle.· I was one of the first ones to get to         ·9·   · · · Q.· -- going all around town or anything like
10·   ·Mr. Fields and I ended up arresting him.                10·   ·that?
11·   · · · · · I don't know how much you want me to go        11·   · · · A.· No.
12·   ·into the arrest, but...                                 12·   · · · Q.· It was a couple minutes.
13·   · · · Q.· If I could, I would just back up a little      13·   · · · · · THE REPORTER:· Guys.
14·   ·bit here and kind of break that down a little bit.      14·   · · · · · THE WITNESS:· Yes, ma'am.
15·   · · · · · When you heard of a vehicle pursuit, do you    15·   · · · · · THE REPORTER:· One at a time.
16·   ·have any idea of a time frame or reference between      16·   · · · · · THE WITNESS:· Oh, sorry.
17·   ·the report of the hit and run to the end of the         17·   · · · · · MR. CAMPBELL:· That's my fault.
18·   ·vehicle pursuit?· Do you know how long that took?       18·   ·BY MR. CAMPBELL:
19·   · · · A.· So from the time I first heard of it when      19·   · · · Q.· Okay.· So when you arrive at the scene --
20·   ·the captain said, hey, something just happened on       20·   ·well, let me say first I've seen some of your body
21·   ·the mall, you guys may want to go take a look, from     21·   ·cam video.· Have you watched your own body cam video
22·   ·the time I heard that until the time I heard there      22·   ·of that arrest and incident?
23·   ·was a vehicle pursuit was less than a minute.· We       23·   · · · A.· Many times, yes.
24·   ·jumped in the van and we went lights and sirens, and    24·   · · · Q.· Okay.· When you first interacted with the
25·   ·from the park to that intersection took maybe about     25·   ·suspect he's already out of the vehicle on the
                                                     Page 24                                                        Page 25
·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·ground; is that correct?                                ·2·   ·spontaneous utterances of saying he was sorry. I
·3·   · · · A.· Correct.                                       ·3·   ·didn't really go into questions because he wasn't
·4·   · · · Q.· Okay.· Did you speak with Mr. Fields at the    ·4·   ·Mirandized.· He also did mention that he has a
·5·   ·scene?                                                  ·5·   ·history of mental health issues.· I'm not quoting
·6·   · · · A.· Yes.                                           ·6·   ·him verbatim, but he did say something to the effect
·7·   · · · Q.· Can you tell me the nature of that             ·7·   ·of, you know, I have mental issues.· He did repeat
·8·   ·conversation or anything that stands out or what you    ·8·   ·that he's sorry.· We did ask if he needed rescue
·9·   ·recall about the conversation with Mr. Fields at the    ·9·   ·squad, and he did say no, they should be going to
10·   ·scene of the arrest?                                    10·   ·the downtown area.
11·   · · · A.· Well, I'll preface this by saying, you         11·   · · · · · But, again, I did not know -- I hadn't seen
12·   ·know, we knew nothing about what was happening on       12·   ·the vehicle at that point.· So, you know, kind of in
13·   ·the mall.· From what I heard and from what I            13·   ·a sympathetic way just trying to get him to calm
14·   ·assumed, you know, he hit someone and then took off     14·   ·down and telling him it will be okay, let us figure
15·   ·because he was scared, that was kind of going           15·   ·out what's going on before we asked any questions.
16·   ·through my head, which happens a lot in downtown        16·   ·In my experience it's better for people to be calm
17·   ·Charlottesville.· You'd be surprised.                   17·   ·before you start asking questions.· And then once
18·   · · · · · My first dealings with him was trying to,      18·   ·I -- once he was sat up and detained properly, you
19·   ·first of all, get him properly detained.· The way he    19·   ·know, I looked at the vehicle, started talking to
20·   ·was set up he wasn't patted down and his handcuffs      20·   ·other officers and detectives on scene and started
21·   ·were not in the back.· So that was pretty much my       21·   ·to piece together what happened.
22·   ·first thing was to pat him down and make sure there     22·   · · · Q.· You said you patted Fields down.· Did you
23·   ·were no weapons and then switch his handcuffs to the    23·   ·find any weapons on him?
24·   ·back.                                                   24·   · · · A.· No.
25·   · · · · · And throughout this process he did make        25·   · · · Q.· Did you check the vehicle to see if there

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·2·   ·were any weapons in the vehicle?                        ·2·   ·throughout the day in the park people had thrown
·3·   · · · A.· Yeah.· We did a pat-down of the vehicle.       ·3·   ·something at him.· I believe that's what he said,
·4·   ·No weapons found.                                       ·4·   ·but other than that, there's nothing much that came
·5·   · · · Q.· Did you have any further conversations at      ·5·   ·from that conversation.
·6·   ·the scene -- you're the officer that arrested           ·6·   · · · Q.· Okay.· When you say people had thrown
·7·   ·Fields, correct?                                        ·7·   ·something at him, was there any discoloration or any
·8·   · · · A.· Correct.                                       ·8·   ·apparent substance on his clothing or anything?
·9·   · · · Q.· And did you have any further conversations     ·9·   · · · A.· I can honestly say I didn't notice that at
10·   ·substantively about what happened with Fields at the    10·   ·the scene, but throughout my investigation and
11·   ·scene of the arrest?                                    11·   ·looking at body camera footage and speaking to other
12·   · · · A.· No.· The way I do things and it's pretty       12·   ·officers there was a discoloration on the shirt.· It
13·   ·par for the course around -- in our unit is we'd        13·   ·was like a yellowish hue on his shirt.
14·   ·rather speak to them in our interview room.· That       14·   · · · Q.· Was that urine, do you know one way or
15·   ·way we can properly Mirandize them and -- that's        15·   ·another?
16·   ·just kind of -- it's more comfortable for us and for    16·   · · · A.· We believe it was urine.· There's been some
17·   ·them to put them in an interview room.· So I didn't     17·   ·question of whether it was his or someone else's.
18·   ·ask any questions there.· And I -- I tried to hint      18·   · · · Q.· All right.· And then tell me what you can
19·   ·to him to, you know, not to say anything, just          19·   ·about your conversation with Fields in the interview
20·   ·relax, and then when we get back we'll go ahead and     20·   ·room.· Was there a point in time -- to maybe give
21·   ·talk to you.                                            21·   ·you a little direction or suggestion of where I
22·   · · · · · So the conversation on scene was limited,      22·   ·would like to discuss another conversation, was
23·   ·but from what I got the main points were he said he     23·   ·there a point in time where Fields was told that
24·   ·was sorry, he said that he was scared, that he          24·   ·someone had died?
25·   ·thought he was being attacked and that earlier          25·   · · · A.· Yes.
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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   · · · Q.· And what was his response?                     ·2·   · · · · · THE REPORTER:· Thank you.
·3·   · · · A.· So this is a video I analyzed for quite a      ·3·   ·BY MR. CAMPBELL:
·4·   ·bit.· My partner at the time was the one that           ·4·   · · · Q.· Okay.· And following the arrest of Fields I
·5·   ·interviewed him while I was working on search           ·5·   ·think you said you exercised some search warrants;
·6·   ·warrants and some other things, and I was watching      ·6·   ·is that correct?
·7·   ·the interview live on our TV, our camera system.        ·7·   · · · A.· Correct.
·8·   ·Initially when I was watching it it seemed like he      ·8·   · · · Q.· Did you seize his phone?
·9·   ·started to cry after he was told that someone had       ·9·   · · · A.· Yes.
10·   ·died, and then again analyzing the video for court      10·   · · · Q.· And did you seize anything else that was
11·   ·prep it doesn't appear that he cries.· He               11·   ·present in the interior of the vehicle following the
12·   ·hyperventilates for about 30 seconds and then he        12·   ·arrest?
13·   ·calms himself down.· I mean, he was, you know,          13·   · · · A.· No.· We seized the vehicle, but there was
14·   ·physically upset.· Initially I would say he began       14·   ·not much in the vehicle at all other than his phone
15·   ·sobbing, but upon further review of the video it's      15·   ·and a couple of personal belongings that were not
16·   ·more of a hyperventilation and then slowly starting     16·   ·really relevant.
17·   ·to calm himself down.· Then he eventually fell          17·   · · · Q.· Did you conduct any sort of deep dive or
18·   ·asleep.                                                 18·   ·search of his phone?
19·   · · · Q.· What's the name of your partner that           19·   · · · A.· So we seized the phone, and at the time
20·   ·interviewed Fields?· Is that Newberry?                  20·   ·there was a parallel investigation going on and the
21·   · · · A.· No.· At that time it was Detective Braden      21·   ·FBI took possession of the phone and they conducted
22·   ·Kirby.                                                  22·   ·a search warrant as well and they had a down- -- if
23·   · · · · · THE REPORTER:· Can you spell his first         23·   ·you conduct a search warrant on a cell phone you get
24·   ·name.                                                   24·   ·essentially a spreadsheet and, you know, this huge
25·   · · · · · THE WITNESS:· B-R-A-D-E-N.                     25·   ·document of what's on that phone.· The FBI did that

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·2·   ·and put it on a disk.· Because of the parallel          ·2·   · · · Q.· Do you have a concept of how far Fields'
·3·   ·investigation I had to write a search warrant to        ·3·   ·car traveled from where the incident took place to
·4·   ·obtain that disk, which was actually in our police      ·4·   ·where the arrest took place?
·5·   ·department.· It's kind of confusing.· So they did       ·5·   · · · A.· We actually did map it out.· It was about a
·6·   ·the indepth download of his phone, whereas I did the    ·6·   ·mile, if that.
·7·   ·search warrant to get that document.                    ·7·   · · · Q.· All right.· From the site of the incident
·8·   · · · Q.· Okay.                                          ·8·   ·the scene was about a mile, maybe a little less; is
·9·   · · · · · And have you reviewed the contents of the      ·9·   ·that correct?
10·   ·report on the phone?                                    10·   · · · A.· Correct.
11·   · · · A.· Yes.                                           11·   · · · Q.· And then the -- what you described earlier
12·   · · · Q.· Did you -- at any point in your                12·   ·as a police chase was a couple minutes; is that
13·   ·investigation were you looking for communications       13·   ·correct?
14·   ·Fields may have had with any other event organizer      14·   · · · A.· That's correct.
15·   ·or rally attendee?                                      15·   · · · Q.· Do you have any idea either from a document
16·   · · · A.· Yes.                                           16·   ·you reviewed or a communication you had with
17·   · · · Q.· Did you find any such communications?          17·   ·another -- maybe the car ahead of you what was like
18·   · · · A.· No.                                            18·   ·the top speed that he reached, that Fields' car
19·   · · · Q.· So it also looks like the -- I mean, from,     19·   ·reached during that police chase?
20·   ·you know, attending some and watching some of the       20·   · · · A.· It was slow.· I didn't know at the time,
21·   ·criminal trial there was like GPS tracking              21·   ·but reviewing video from the helicopter, I mean, it
22·   ·information; is that accurate?                          22·   ·was a slow speed chase.· I wouldn't say he was going
23·   · · · A.· Correct.                                       23·   ·more than 30 miles an hour.
24·   · · · Q.· And did you review that as well, Detective?    24·   · · · Q.· So would it be fair to characterize it more
25·   · · · A.· Yes.                                           25·   ·like he just wouldn't pull over?
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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   · · · A.· Correct.· Again, stop me if I'm going          ·2·   ·that -- that was being manned by one officer and one
·3·   ·ahead, but he did say at the magistrate's office        ·3·   ·officer's vehicle prior to the attack.
·4·   ·that he didn't notice that someone was behind him       ·4·   · · · · · Now, from what I learned and -- again, this
·5·   ·when they were trying to pull him over.                 ·5·   ·is the best of my knowledge -- that that officer was
·6·   · · · Q.· Okay.                                          ·6·   ·overwhelmed at that intersection when people started
·7·   · · · · · I wanted to ask you a few questions about      ·7·   ·to march and became extremely violent.· A lot of
·8·   ·your understanding of what the -- of whether the        ·8·   ·scuffling took place.· I believe she requested to be
·9·   ·street where the incident occurred was supposed to      ·9·   ·relieved and that grant was approved.· I think they
10·   ·be closed at the time of the incident.· If you know,    10·   ·put a physical barrier, so it's like one of those
11·   ·do you know whether the street where the incident       11·   ·orange things, big orange walls right where her
12·   ·occurred was supposed to be closed at the               12·   ·vehicle was blocking the intersection of 4th and
13·   ·intersection --                                         13·   ·Market, but you could easily get around it.
14·   · · · A.· Yes.                                           14·   · · · Q.· And, Detective, you testified at the
15·   · · · Q.· Okay.· Do you know how the street was          15·   ·criminal trial, is that correct, sir?
16·   ·supposed to be closed?· For example, was there          16·   · · · A.· Yes.
17·   ·supposed to be a marked police car in the area          17·   · · · · · MR. CAMPBELL:· If I could, I don't think I
18·   ·blocking the street?                                    18·   ·have a lot more -- many more question for you, but I
19·   · · · A.· Yes.· Again, this is all to the best of my     19·   ·do want to look over my notes.· If anyone else wants
20·   ·knowledge.· I knew that the intersection of             20·   ·to ask any questions of the detective, I would
21·   ·4th Street and Market Street was supposed to be         21·   ·appreciate passing the witness so we don't have to
22·   ·closed from either way.· I don't know if you guys       22·   ·waste ten minutes or we could take a 10- or
23·   ·are familiar with Charlottesville, but you weren't      23·   ·15-minute break.
24·   ·able to go west of 4th Street and you were not able     24·   · · · · · THE WITNESS:· I'm fine either way.
25·   ·to go south on 4th Street from that intersection and    25·   · · · · · MR. CAMPBELL:· Do you guys want to take a

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·2·   ·10-minute break?                                        ·2·   · · · Q.· And are you aware of the name of any law
·3·   · · · · · MR. STEMETZKI:· Yeah.· I think a 10-minute     ·3·   ·enforcement officer who actually witnessed the hit
·4·   ·break would be good.                                    ·4·   ·and run incident?
·5·   · · · · · · · · · · (A short break was had.)             ·5·   · · · A.· I tried to find someone, but no law
·6·   ·BY MR. CAMPBELL:                                        ·6·   ·enforcement officer that I know of actually
·7·   · · · Q.· Corporal Young, Dave Campbell again.           ·7·   ·witnessed the incident.
·8·   · · · · · On August 12 as you drove around downtown      ·8·   · · · Q.· Okay.
·9·   ·in the unmarked van, did you view violence coming       ·9·   · · · · · And you testified earlier, I believe, that
10·   ·from both sides?                                        10·   ·you reviewed the phone downloaded information or
11·   · · · A.· I actually never --                            11·   ·report looking for communications between Mr. Fields
12·   · · · · · MR. STEMETZKI:· Objection, it's a leading      12·   ·and other rally attendees or organizers; is that
13·   ·question.                                               13·   ·accurate?
14·   · · · · · MR. CAMPBELL:· You can answer.                 14·   · · · A.· Yes.
15·   · · · A.· I was actually never -- I rarely use a map,    15·   · · · Q.· Is it fair to say that if you found
16·   ·but we were mostly on the outskirts of the downtown     16·   ·evidence of such communication other people could
17·   ·area.· So during the actual clash that's become         17·   ·have been charged in association with Fields' hit
18·   ·popular we did not see that, we were not around that    18·   ·and run incident?
19·   ·area.· We heard it on the radio, but I can't testify    19·   · · · A.· Potentially, yes.
20·   ·to what happened on that other than open source         20·   · · · Q.· And no such criminal charges were ever
21·   ·media.                                                  21·   ·filed against any other rally attendee or organizer
22·   · · · Q.· Okay.· And earlier we were discussing          22·   ·in association with Mr. Fields' hit and run
23·   ·Mr. Fields, the hit and run incident.· You didn't       23·   ·incident; is that correct?
24·   ·witness that personally; is that correct?               24·   · · · A.· Correct.
25·   · · · A.· Correct.                                       25·   · · · Q.· And Mr. Fields was never charged with any
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·1·   · · · · · · · · · ·STEVEN YOUNG                          ·1·   · · · · · · · · · ·STEVEN YOUNG
·2·   ·crime of a conspiratorial nature; is that correct?      ·2·   · · · A.· Yes.· The FBI I think headquartered out of
·3·   · · · A.· That's correct.                                ·3·   ·Louisville, Kentucky conducted a search of his
·4·   · · · · · MR. CAMPBELL:· All right.· Thank you very      ·4·   ·residence and seized laptops.
·5·   ·much, Corporal.· I appreciate your time today. I        ·5·   · · · Q.· All right.· And to your knowledge, did they
·6·   ·don't have any more questions for you.· Unless          ·6·   ·recover any information indicating that he had
·7·   ·someone else asks you a question that prompts me to     ·7·   ·conspired with any persons regarding the murder of
·8·   ·think of something else, I don't have any more          ·8·   ·Heather Heyer?
·9·   ·questions.                                              ·9·   · · · A.· No.
10·   · · · · · · · · · · · EXAMINATION                        10·   · · · · · MR. KOLENICH:· Okay.· Thank you.· No
11·   ·BY MR. KOLENICH:                                        11·   ·further questions.
12·   · · · Q.· Officer, this is Jim Kolenich.· I represent    12·   · · · · · MR. STEMETZKI:· Do any other Defendants
13·   ·some of the other Defendants in the Sines versus        13·   ·have questions?· I'll take that as a no.
14·   ·Kessler case.· Good morning, sir.                       14·   · · · · · I just need five minutes to organize my
15·   · · · A.· Good morning.                                  15·   ·thoughts and I'll have a couple follow-up questions.
16·   · · · Q.· Referring to the questions just asked          16·   · · · · · · · · · · (A short break was had.)
17·   ·regarding your examination of James Fields' phone,      17·   · · · · · MR. STEMETZKI:· Mr. Young -- Corporal
18·   ·is that the only electronic device that you             18·   ·Young, I actually have no questions for you this
19·   ·recovered from him?                                     19·   ·afternoon.· So I think that should be the end of the
20·   · · · A.· Correct.· That's the only one I recovered.     20·   ·deposition.· So thank you for your time today and
21·   · · · Q.· To your knowledge, did the investigation       21·   ·have a good rest of your week.
22·   ·look at any other of his devices?                       22·   · · · · · MR. CAMPBELL:· Sorry, this is Dave
23·   · · · A.· Not in Charlottesville.                        23·   ·Campbell.· I just wanted to advise you since we're
24·   · · · Q.· Do you know of any other authority that may    24·   ·not videoing this you have the right to read this
25·   ·have had his other electronic devices?                  25·   ·transcript.· Not to change your answers, but just to

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·1·   · · · · · · · · · ·STEVEN YOUNG                               ·1· · · · · · · · · · ·STEVEN YOUNG
                                                                    ·2· · · · · · · · ACKNOWLEDGEMENT OF DEPONENT
·2·   ·make sure you believe the court reporter took down
                                                                    ·3· · · · · · I, STEVEN YOUNG, being first duly sworn, on
·3·   ·your testimony accurately.· You can also waive that
                                                                    ·4· ·oath say that I am the deponent in the aforesaid
·4·   ·right.· Most people, particularly law enforcement
                                                                    ·5· ·deposition taken on the 15th day of July, 2020; that
·5·   ·choose to waive that right, but I'm not your
                                                                    ·6· ·I have read the foregoing transcript of my
·6·   ·counsel.· It's your decision.· You just need to              ·7· ·deposition consisting of pages 1 through 39,
·7·   ·indicate to the court reporter whether you'd like to         ·8· ·inclusive, and affix my signature to same.
·8·   ·read the transcript or whether you waive that right.         ·9
·9·   · · · · · THE WITNESS:· I'll waive.                           10
10·   · · · · · · · · · · (Whereupon, at 10:29 a.m. the             11
11·   · · · · · · · · · · ·taking of the instant deposition         · · ·STEVEN YOUNG
12·   · · · · · · · · · · ·ceased.)                                 12

13                                                                  13

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·1· · · · · · · · · · ·STEVEN YOUNG
·2· · · CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
·3· · · · · · I, TINA M. ALFARO, Registered Professional
·4· ·Reporter, Certified Realtime Reporter, and Notary
·5· ·Public, the officer before whom the foregoing
·6· ·deposition was taken, do hereby certify that the
·7· ·foregoing transcript is a true and correct record of
·8· ·the testimony given; that said testimony was taken
·9· ·by me stenographically and thereafter reduced to
10· ·typewriting under my direction; that reading and
11· ·signing was requested; and that I am neither counsel
12· ·for, related to, nor employed by any of the parties
13· ·to this case and have no interest, financial or
14· ·otherwise, in its outcome.
15· · · · · · IN WITNESS WHEREOF, I have hereunto set my
16· ·hand and affixed my notarial seal this 21st day of
17· ·July, 2020.
18
19· ·My Commission expires October 31, 2020.
20
21· ·________________________________
22· ·NOTARY PUBLIC IN AND FOR THE
23· ·DISTRICT OF COLUMBIA
24
25



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